           Case 1:20-cv-03010-APM Document 406 Filed 11/10/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA, et al.,

                                  Plaintiffs,           Case No. 1:20-cv-03010-APM

    v.
                                                        HON. AMIT P. MEHTA
    GOOGLE LLC,

                                  Defendant.


            DEFENDANT GOOGLE LLC’S OPPOSITION TO DOJ PLAINTIFFS’
             MOTION TO ALLOW A DIVIDED EXAMINATION OF DR. FOX

          DOJ Plaintiffs fail to provide any support for their request to be excepted from the rules

governing depositions and the parties’ practice in this case to allow for a divided examination of

Professor Fox by two separate attorneys for the DOJ.1 The majority of the expert depositions

taken to date have lasted the full 10 hours allotted under the Case Management Order, and every

expert deposition has been taken (and defended) by a single attorney for each party. The

upcoming deposition of Professor Fox is no different than any other expert deposition in this

case, and Google therefore respectfully opposes the request.


Dated: November 10, 2022                         Respectfully submitted,

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    DOJ Plaintiffs first raised this issue yesterday afternoon, November 9, 2022.
Case 1:20-cv-03010-APM Document 406 Filed 11/10/22 Page 2 of 2




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